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                                 Attachment D
The following matrix lists documentary discovery released to Defendants to date in
United States v. Dana Jarvis, et al., Cr. No. 05-1849 JH.

AUSA Discovery Letters
     2005 09-09 Discovery Cover Letter
     2005 11-18 Discovery Cover Letter
     2005 12-06 Discovery Cover Letter
     2005 12-08 Discovery Cover Letter
     2006 01-11 (1) Discovery Cover Letter
     2006 01-11 (2) Discovery Cover Letter
     2006 01-25 Discovery Cover Letter
     2006 03-10 Discovery Cover Letter
     2006 03-14 Discovery Cover Letter
     2006 03-23 Discovery Cover Letter
     2006 04-03 (1) Discovery Cover Letter
     2006 04-03 (2) Discovery Cover Letter
     2006 05-25 Discovery Cover Letter
     2006 05-26 Discovery Cover Letter
     2006 07-11 (1) Discovery Cover Letter
     2006 07-11 (2) Discovery Cover Letter
     2006 07-11 (3) Discovery Cover Letter
     2006 07-11 (4) Discovery Cover Letter
     2006 07-25 Discovery Cover Letter
     2006 09-05 Discovery Cover Letter
     2006 09-21 Discovery Cover Letter
     2006 10-27 Discovery Cover Letter
     2006 11-28 (1) Discovery Cover Letter
     2006 11-28 (2) Discovery Cover Letter
     2006 11-30 Discovery Cover Letter
     2007 01-10 Discovery Cover Letter

       2007 01-26 Discovery Cover Letter
       2007 02-06 Discovery Cover Letter
       2007 04-25 Discovery Cover Letter
       2007 07-19 (1) Discovery Cover Letter
       2007 07-19 (2) Discovery Cover Letter
       2007 09-06 Discovery Cover Letter
       2007 09-27 Discovery Cover Letter
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        2008 02-08 Discovery Cover Letter

Counter Narcotics Alliance
      3.949-3.955 Counter Narcotics Alliance (#050507045)
      3.956-3.1298 Counter Narcotics Alliance (#031101012)

Customs
      3.568-3.569 Fax

DEA (Indiana)
      11.22-11.26 Indiana DEA Ex N-3 (DEA-6 3.123-3.126)
      11.27-11.34 Indiana DEA Ex N-4 (DEA-6 3.135-3.136)
      11.35-11.35 Indiana DEA Ex N-5 (DEA-6 3.145-3.146)

DEA-6
        3.001-3.099 DEA-6
        3.100-3.199 DEA-6
        3.200-3.299 DEA-6
        3.300-3.399 DEA-6


        3.671-3.673 DEA-6
        3.681-3.682 DEA-6
        3.683-3.868 DEA-6
        3.911-3.930 DEA-6
        3.942-3.943 DEA-6
        3.944-3.948 DEA-6
        9.07.1-9.07.25 DEA-6 (CW07)
        9.10.1-9.10.11 DEA-6 (CW10)
        9.12.1-9.12.21 DEA-6 (CW12)
        9.13.1-9.13.10 DEA-6 (CW13)

DEA-7
        4.01-4.39 DEA-7
        4.40-4.68 DEA-7
        4.70-4.72 DEA-7
        4.91-4.92 DEA-7
        4.93-4.94 DEA-7
        4.95-4.96 DEA-7
        4.97-4.97 DEA-7
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      4.98-4.99 DEA-7

DEA-7a
     5.001-5.098 DEA-7a
     5.099-5.113 DEA-7a
     5.114-5.122 DEA-7a




      5.138-5.138 DEA-7a
      5.139-5.139 DEA-7a
      5.140-5.140 DEA-7a
      5.141-5.141 DEA-7a
      5.142-5.142 DEA-7a
      5.143-5.143 DEA-7a
      5.144-5.144 DEA-7a
      5.145-5.145 DEA-7a
      5.146-5.146 DEA-7a
      5.147-5.147 DEA-7a
      5.148-5.148 DEA-7a
      5.149-5.149 DEA-7a
      5.150-5.150 DEA-7a
      5.151-5.154 DEA-7a

Discovery (Bates)
      00001-00013 Application (05-11JC)
      00014-00014 Order 2758-2005 (05-11JC)
      00015-00016 Memorandum (05-11JC)
      00017-00061 Affidavit (05-11JC)
      00062-00072 Order (05-11JC)
      00073-00087 Application (05-20JC)
      00088-00088 Order 2758-2005 (05-20JC)
      00089-00090 Memorandum (05-20JC)




      00198-00198 Order 2758-2005 (05-23JB)
      00199-00200 Memorandum (05-23JB)
      00201-00254 Affidavit (05-23JB)
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     00255-00289 Affidavit (05-20JC)
     00290-00334 Affidavit (05-20JC)
     00335-00347 Order (05-23JB)
     00348-00360 Application (05MC30)
     00361-00361 Order 2758-2005 (05MC30)
     00362-00363 Memorandum (05MC30)
     00364-00397 Affidavit (05MC30)
     00398-00451 Affidavit (05-23JB)
     00452-00486 Affidavit (05-20JC)
     00487-00531 Affidavit (05-20JC)
     00532-00542 Order (05MC30)
     00543-00558 Application (05MC34)
     00559-00559 Order 2758-2005 (05MC34)
     00560-00561 Memorandum (05MC34)
     00562-00609 Affidavit (05MC34)
     00610-00643 Affidavit (05MC30)
     00644-00697 Affidavit (05-23JB)
     00698-00732 Affidavit (05-20JC)
     00733-00777 Affidavit (05-20JC)
     00778-00790 Order (05MC34)
     00791-00805 Application (05MC37BB)




     00906-00939 Affidavit (05MC30)
     00940-00993 Affidavit (05-23JB)
     00994-01028 Affidavit (05-20JC)
     01029-01073 Affidavit (05-20JC)
     01074-01086 Order (05MC37BB)
     01087-01113 Search (05M512)
     01114-01140 Search (05M513)
     01141-01164 Search (05M507)
     01165-01188 Search (05M509)
     01189-01215 Search (05M506)
     01216-01242 Search (05M510)
     01243-01269 Search (05M511)
     01270-01296 Search (05M515)
     01297-01323 Search (05M514)
     01324-01350 Search (05M508)
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     01351-01366 Search (05-00631M)
     01367-01384 Search (05-00629M)
     01385-01400 Search (05-00628M)
     01401-01414 Search (05M501)
     01415-01428 Search (05M498)
     01429-01442 Search (05M504)
     01443-01456 Search (05M503)
     01457-01470 Search (05M502)
     01471-01484 Search (05M500)




     01520-01526 Search (05M518)
     01527-01528 Search (05M499)
     01529-01530 Search (05M502)
     01531-01532 Search (05M503)
     01533-01534 Search (05M504)
     01535-01539 Search (05M513)
     01540-01541 Search (05M519)
     01542-01543 Search (05M521)
     01544-01545 Search (05M520)
     01546-01547 Search (05M518)
     01548-01552 Search (05M507)
     01553-01557 Search (05M511)
     01558-01562 Search (05M508)
     01563-01567 Search (05M506)
     01568-01572 Search (05M515)
     01573-01577 Search (05M509)
     01578-01582 Search (05M512)
     01583-01612 Search (IP 05-0335M-01)
     01613-01642 Search (IP 05-0336M-01)
     01643-01672 Search (IP 05-0337M-01)
     01673-01702 Search (IP 05-0338M-01)
     01703-01705 Search (05-00628M)
     01706-01708 Search (05-00629M)
     01709-01711 Search (05-00631M)
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      01817-01853 Search (2.05-MJ-384-MRA)
      01854-01865 Search Warrant for Computer (HillG)
      01866-01880 (Minimization Instructions 03-02-05)
      01881-01894 (Minimization Instructions 04-05-05)
      01895-01910 (Minimization Instructions 05-17-05)
      01911-01924 (Minimization Instructions 05-27-05)
      01925-01940 (Minimization Instructions 06-21-05)
      01941-01957 (Minimization Instructions 08-04-05)
      01958-01992 (Periodic Report to Court (A) #1 - 03-14-05)
      01993-02025 (Periodic Report to Court (A) #2 - 03-24-05)
      02026-02044 (Periodic Report to Court (A) #3 - 04-05-05)
      02045-02105 (Periodic Report to Court (B) #1 - 04-21-05)
      02106-02130 (Periodic Report to Court (B) #2 - 04-29-05)
      02131-02158 (Periodic Report to Court (B) #3 - 05-11-05)
      02159-02217 (Periodic Report to Court (C) #1 - 06-01-05)
      02218-02272 (Periodic Report to Court (C) #2 - 06-07-05)
      02252-02253 (Periodic Report to Court (F) #2 - 08-26-05)
      02273-02296 (Periodic Report to Court (C) #3 - 06-16-05)
      02297-02334 (Periodic Report to Court (D) #1 - 06-16-05)
      02335-02350 (Periodic Report to Court (D) #2 - 06-16-05)
      02351-02411 (Periodic Report to Court (E) #1 - 07-06-05)
      02412-02460 (Periodic Report to Court (E) #2 - 07-xx-05)
      02461-02521 (Periodic Report to Court (E) #3 - 07-xx-05)
      02522-02551 (Periodic Report to Court (F) #1 - 08-26-05)




Exhibits
      Exhibit 02 - 00001-00050 - Bank of America - 9421 (JarvisD)
      Exhibit 03 - 00001-00191 - Cielo Vista (JarvisD)
      Exhibit 09 - 00001-00544 - Washington Mutual - 5 Lauro (HannaB)
      Exhibit 10 - 00001-00363 - Vah Ki Inn (ReidD)
      Exhibit 11 - 00001-00178 - Vah Ki Inn (ReidD)
      Exhibit 13 - 00001-00223 - Popular Mortgage - 13 Enebro (ReidD)
      Exhibit 17 - 00001-00215 - Option - 9227 Weaver (ReidD)
      Exhibit 19 - 00001-00148 - National City - 138 Berger (HannaB)
      Exhibit 24 - 00001-00158 - Indymac - 13 Enebro (JarvisD)
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     Exhibit 25 - 00001-00164 - Stewart Title - 5 Lauro (HannaB)
     Exhibit 26 - 00001-00020 - DC Concrete - MRI Medical (ReidD)
     Exhibit 28 - 00001-00163 - 1st American Title - Cielo Vista
     Exhibit 29 - 00001-00134 - Community - 1353 (FitznerD)
     Exhibit 30 - 00001-00227 - Precision - 1119 Vah Li Inn (ReidD)
     Exhibit 33 - 00001-00287 - New Century - 2nd St-OR (ReidD)
     Exhibit 34 - 00001-00250 - Precision - 214 2nd-OR (ReidD)
     Exhibit 36 - 00001-00072 - Bank of America - 0640 (HannaB)
     Exhibit 37 - 00001-00999 - Bank of America - 2265 (JarvisD)
     Exhibit 37 - 01000-01774 - Bank of America - 2265 (JarvisD)
     Exhibit 37sec2 - 00001-00356 - Bank of America - 2265 (JarvisD)
     Exhibit 38 - 00001-00999 - Bank of America - 2936 (JarvisD)




     Exhibit 38sec2 - 00001-00521 - Bank of America - 2936 (JarvisD)
     Exhibit 39 - 00001-00264 - Compass - 7389 (ReidD)
     Exhibit 40 - 00001-00193 - Accredited - 9227 Weaver (ReidD)
     Exhibit 41 - 00001-00148 - Citibank - 7497 (HannaB)
     Exhibit 43 - 00001-00597 - 1st State - 4527 (JarvisD)
     Exhibit 43p - 00001-00099 - 1st State - 4527 (JarvisD)
     Exhibit 44 - 00001-00290 - 1st State - 3801 (JarvisD)
     Exhibit 45 - 00001-00153 - 1st State - Liquor License (JarvisD)
     Exhibit 46 - 00001-00436 - Washington Mutual - 142 Half (HannaB)
     Exhibit 47 - 00001-00042 - Wells Fargo - 3959 (HannaB)
     Exhibit 48 - 00001-00158 - Countrywide - 612 Gomez #1 (HannaB)
     Exhibit 49 - 00001-00999 - Compass - 87080487 (HannahM)
     Exhibit 49 - 01000-01999 - Compass - 87080487 (HannahM)
     Exhibit 49 - 02000-02999 - Compass - 87080487 (HannahM)
     Exhibit 49 - 03000-03366 - Compass - 87080487 (HannahM)
     Exhibit 50 - 00001-00999 - Compass - 87080579 (HannahM)
     Exhibit 50 - 01000-01801 - Compass - 87080579 (HannahM)
     Exhibit 51 - 00001-00027 - Bank One - 689832822 (JarvisD)
     Exhibit 52a - 00001-00362 - Bank One - 5157 (JarvisD)
     Exhibit 52b - 00001-00288 - Bank One - 5861 (JarvisD)
     Exhibit 53 - 00001-00041 - Tucson Aero - N3AJ-N754TW (ReidD)
     Exhibit 54 - 00001-00041 - Westar - Escrow Dep (JarvisD)
     Exhibit 55 - 00001-00358 - Bank of America - 8357 (JarvisD)
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      Exhibit 64 - 00001-00070 - County Records - Evergreen (JarvisD)
      Exhibit 65 - 00001-00028 - Merrick Bank - 0077 (JarvisD)
      Exhibit 67 - 00001-00079 - Bank of America - 8361 (JarvisD)
      Exhibit 68 - 00001-00175 - Equicredit - 1440 Cielo Vista (JarvisD)
      Exhibit 69 - 00002-00003 - US Bank - Trust Acct (JarvisD)
      Exhibit 70 - 00001-00085 - Farmers Insurance (JarvisD, WardT)
      Exhibit 71 - 00001-00048 - Farmers Insurance (HannaB)
      Exhibit 72 - 00001-00026 - MVD (JarvisD, WardT)
      Exhibit 75 - 00001-00455 - Compass - 3216 (ReidD)
      Exhibit 76 - 00001-00173 - Compass - 8676 (ReidD)
      Exhibit 77 - 00001-00124 - Compass - 1230 (ReidD)
      Exhibit 78 - 00001-00807 - Sunstate - 1012 (ReidD)
      Exhibit 78pt2 - 00001-00196 - Sunstate - 1012 (ReidD)
      Exhibit 79 - 00001-00922 - Compass - 0633 (HannahM)
      Exhibit 80 - 00001-00123 - Wells Fargo - 2157895 (HannaB)
      Exhibit 81 - 00001-00164 - 1st American Title - 138 Berger (HannaB)
      Exhibit 82 - 00001-00052 - Countrywide - 8012 1st (GreeneR)
      Exhibit 83 - 00001-00022 - Lane Aviation Ohio - N3AJ (ReidD - JarvisD)
      Exhibit 84 - 00001-00070 - JP Morgan Bank One - 4386-1745-1604-9797
(HannahM)
      Exhibit 85 - 00001-00694 - Mossman CPA - Jarvis Tax Returns
      Exhibit 85add - 00001-00673 - Mossman CPA - Jarvis Tax Returns
      Exhibit 86 - 00001-00186 - Commercial Federal - 1440 Cielo Vista (JarvisD)
      Exhibit 87 - 00001-00038 - Washington Mutual - 9566 (ReidD)




       Exhibit 95 - 00001-00027 - American Escrow - Club Ryhthm (JarvisD)
       Exhibit 96 - 00001-00071 - Sandia Title - Club Rhythm (JarvisD)
       Exhibit 97 - 00001-00030 - Powell Aircraft - N754TW (ReidD)
       Exhibit 999 - 00001-00001 - Greyhound (MistrzakR)
       Exhibit N225 - 00001-00050
       Exhibit N226 - 00001-00048
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      Exhibit N227 - 00001-00054

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Gil, Manuel




      3.939-3.941 ICE (ROI)

IRS
      3.663-3.664 IRS (Memorandum of Contact)
      3.665-3.666 IRS (Memorandum of Activity)
      3.667-3.668 IRS (Memorandum of Conversation)
      3.669-3.670 IRS (Memorandum of Conversation)
      7.001-7.099 Tax Returns (FitzgeraldC, Club, Jarvis)
      7.100-7.199 Tax Returns (FitzgeraldC, Club, Jarvis)
      7.200-7.213 Tax Returns (FitzgeraldC, Club, Jarvis)
      7.214-7.299 IRS
      7.300-7.399 IRS
      7.400-7.499 IRS
      7.500-7.599 IRS
      7.600-7.699 IRS
      7.700-7.776 IRS
      7.777-7.798 IRS
      7.799-7.901 IRS
      7.902-7.997 IRS
      7.998-7.1034 IRS




      9.11.13-9.11.24 Transcript (Plea Hearing)
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      9.11.25-9.11.32 Plea Agreement
      9.11.33-9.11.35 Cooperation

NLETS
     2.01-2.57 NLETS
     2.58-2.85 NLETS

Photographs - 1440 Calle Cielo Vista
      1440 Calle Cielo Vista 01 - 23

Photographs - Club Rhythm and Blues
      Club R&B 01 - 10

Ripley, George
       9.16.01-9.16.15 Discovery (DEA-6)




Searches
      1.001-1.099 Search
      1.100-1.199 Search
      1.200-1.299 Search
      1.300-1.395 Search
      1.396-1.428 Search

Transcripts
      1.001-1.064 Transcript (GJ 08-23-05)
      1.065-1.110 Transcript (GJ 04-25-06)
      12.001-12.041 Transcript (Telephone Conversations 01-29-07)
      12.042-12.118 Transcript (Conversations 01-31-07)
      12.119-12.280 Transcript (Telephone Conversations 02-09-07)
